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LAWRENCE S. KRASNER
DISTRICT ATTORNEY

February 6, 2018

Honorable Mitchell S. Goldberg

United States District Court Judge

United States District Court, Eastern District of Pennsylvania
U.S. Courthouse

601 Market Street, Room 7614

Philadelphia, PA 19106-1744

RE: Robert Wharton v. Donald T. Vaughn, Civil Action No. 01-6049

Dear Judge Goldberg:
Enclosed please find a copy of respondent's Notice of Concession of Penalty

Phase Relief, which has been filed with the Court.

Respectfully Submitted,

Max C. Kaufman
Supervisor, Federal Litigation Unit

Enclosure

cc: Victor Abreu, Esquire
Claudia VanWyk, Esquire
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROBERT WHARTON, : CIVIL ACTION
Petitioner
V.
DONALD T. VAUGHN, : NO. 01-6049
Respondent

NOTICE OF CONCESSION OF PENALTY PHASE RELIEF

1. Petitioner is a Pennsylvania state prisoner who was convicted of two
counts of first-degree murder in 1985 and received two sentences.

2. In 2003, petitioner filed a petition for a writ of habeas corpus in federal .
court.

3. In 2012, this Court denied the habeas petition. The Court granted a
certificate of appealability (COA) on two claims: that counsel was ineffective at the
suppression hearing and at trial for not presenting evidence supporting the
involuntariness of his confession, and that petitioner's rights under the Confrontation
Clause were violated.

4. The Third Circuit Court of Appeals subsequently expanded the COA to
include another ineffectiveness claim: that counsel was ineffective for not investigating
petitioner's adjustment to prison or presenting evidence of that adjustment at the
second penalty hearing.

5. On January 11, 2018, the Third Circuit Court affirmed in part and denied in

part this Court's denial of petitioner's habeas petition. The Third Circuit affirmed the
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denial of relief on the two guilt-phase claims, vacated the denial of the sentencing claim,
and remanded to this Court for an evidentiary hearing on that surviving claim.

6. On December 3, 2018, the United States Supreme Court denied
petitioner's petition for a writ of certiorari.

7. On January 4, 2019, petitioner filed in this Court a pro se motion for the

appointment of new counsel.

8. On January 9, 2019, this Court scheduled a status conference for
February 14, 2019.

9. Following review of this case by the Capital Case Review Committee of
the Philadelphia District Attorney's Office, communication with the victims’ family, and
notice to petitioner's counsel, respondent hereby reports to the Court that it concedes
relief on petitioner's remaining claim of ineffective assistance at the second penalty
hearing, and does not contest the grant of a conditional writ of habeas corpus with
respect to petitioner's death sentences.

10. In addition, respondent agrees that, following the grant of a conditional writ -
as to petitioner's death sentences, it will not seek new death sentences in state court.

11. Because all of petitioner's other claims have been fully and finally litigated,
the grant of sentencing relief on petitioner's penalty phase ineffectiveness claim in
accordance with respondent's concession would end the litigation of this case in federal
court. Thus, the grant of penalty phase relief would render moot petitioner's motion for

new counsel, and eliminate the need for the scheduled status conference or other

proceedings in this Court.

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Case 2:01-cv-06049-MSG Document 155 Filed 02/06/19 Page 4 of 5

Respectfully submitted,

/O, ( C__

Max C. Kaufman

Supervisor, Federal Litigation Unit
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROBERT WHARTON, : CIVIL. ACTION
Petitioner
Vv.
DONALD T. VAUGHN, : NO. 01-6049
Respondent
CERTIFICATE OF SERVICE

1, MAX C, KAUFMAN, hereby certify that on February 6, 2019, a copy of
the foregoing pleading was served by placing same, first-class postage prepaid, .

in the United States mail addressed to:

Shawn Nolan, Esquire

Victor Abreu, Esquire

Claudia VanWyk, Esquire

Defender Association of Philadelphia
Federal Court Division

The Curtis Center, Suite 545 West
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